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                         Exhibit D
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                                                Exhibit D – U.S. Patent No. 9,622,227


Toyota makes, uses, tests, offers for sale, sells, and/or imports vehicles that comply, operate in accordance, and/or are configured in
accordance with 36 Series of one or more of 3GPP releases 10-16. Such vehicles are collectively referred to as the “Accused
Products.” The Accused Products include Toyota and Lexus-branded vehicles that support LTE and that were made in, used in, tested
in, offered for sale in, sold in, or imported into the United States by Toyota at some point in time since 2018. Each of the Accused
Products supports LTE and, thus, includes the features and functionality identified in this chart. The features and functionality
identified in this chart cause the Accused Products to practice the asserted claims of U.S. Patent No. 9,622,227 (the “’227 patent”).


             Claim 1                                                      Accused Products
 [PRE] A method of operating a user     An Accused Product configured to operate on an LTE network is a user equipment (UE). As
 equipment (UE), the method             evidenced below, the Accused Products perform a method of operating a user equipment
 comprising:                            when operating on an LTE network.


 [A][1] determining whether at least    As evidenced below, an Accused Product operating on an LTE network determines whether
 two of a plurality of channel state    at least two of a plurality of channel state information (CSI) reports are to be transmitted on
 information (CSI) reports are to be    a physical uplink control channel (PUCCH) in a subframe.
 transmitted on a physical uplink
 control channel (PUCCH) in a
 subframe,




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              Claim 1                                                   Accused Products
                                                        1
                                     Source: TS 36.213, p. 44




                                     Source: TS 36.213, p. 52




1
 3GPP TS 36.213 V10.13.0 (2015-06) Evolved Universal Terrestrial Radio Access (E-UTRA); Physical layer procedures (Release
10)

                                                                2
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              Claim 1                                                          Accused Products




                                         Source: TS 36.213, pp. 52-53


[A][2] each of the plurality of CSI      As evidenced below, each of the plurality of CSI reports is related to a respective one of a
reports related to a respective one of   plurality of component carriers.
a plurality of component carriers;




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              Claim 1                                                          Accused Products




                                         Source: TS 36.213, p. 44


[B][1] on a condition that the           As evidenced below, an Accused Product operating on an LTE network, on a condition that
determination is positive, dropping      the determination is positive, drops at least one lower priority CSI report of the plurality of
at least one lower priority CSI report   CSI reports.
of the plurality of CSI reports,
wherein:




                                         Source: TS 36.213, pp.52-54




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              Claim 1                                                    Accused Products
[B][2] a CSI report containing a      As evidenced below, a CSI report containing a Rank Indicator (RI) is prioritized over one or
Rank Indicator (RI) is prioritized    more CSI reports containing a Channel Quality Indicator (CQI).
over one or more CSI reports
containing a Channel Quality
Indicator (CQI), and




                                      Source: TS 36.213, pp. 52-54


[B][3] a CSI report containing a RI   As evidenced below, a CSI report containing a RI for a primary component carrier is
for a primary component carrier is    prioritized over one or more CSI reports containing a RI for a respective secondary
prioritized over one or more CSI      component carrier.
reports containing a RI for a




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                  Claim 1                                                       Accused Products
    respective secondary component
    carrier; and




                                          Source: TS 36.213, pp. 52-54




                                          Source: TS 36.331, 2 p. 220


    [C] transmitting, subsequent to the   As evidenced below, an Accused Product operating on an LTE network transmits,
    dropping, at least one prioritized    subsequent to the dropping, at least one prioritized CSI report of the plurality of CSI reports
    CSI report of the plurality of CSI    on the PUCCH in the subframe.
    reports on the PUCCH in the
    subframe.



2
 3GPP TS 36.331 V10.22.0 (2018-06) Evolved Universal Terrestrial Radio Access (E-UTRA); Radio Resource Control (RRC);
Protocol specification (Release 10)

                                                                     6
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                                              Exhibit D – U.S. Patent No. 9,622,227


              Claim 1                                                       Accused Products




                                       Source: TS 36.213, pp. 52-54




               Claim 2                                                     Accused Products
[A] The method of claim 1, wherein     As evidenced below, each of the plurality of component carriers has an associated priority.
each of the plurality of component
carriers has an associated priority,
the method further comprising:




                                       Source: TS 36.331, p. 220




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              Claim 2                                                       Accused Products




                                       Source: TS 36.213, pp. 52-54


[B][1] on a condition that there are   As evidenced below, an Accused Product operating on an LTE network transmits, on a
no CSI reports for a primary           condition that there are no CSI reports for a primary component carrier, dropping at least one
component carrier, dropping at least   lower priority CSI report of the plurality of CSI reports.
one lower priority CSI report of the
plurality of CSI reports,




                                       Source: TS 36.331, p. 220




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              Claim 2                                                      Accused Products




                                       Source: TS 36.331, pp. 17-19




                                       Source: TS 36.213, pp. 52-54


[B][2] wherein a CSI report            As evidenced below and elsewhere herein, a CSI report containing a RI for a component
containing a RI for a component        carrier with a highest associated priority is prioritized over one or more CSI reports
carrier with a highest associated      containing a RI for a respective component carrier of lower associated priority.
priority is prioritized over one or
more CSI reports containing a RI for
a respective component carrier of
lower associated priority.




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              Claim 2                                                          Accused Products

                                         Source: TS 36.213, pp. 52-54




                                         Source: TS 36.331, p. 220




             Claim 3                                                       Accused Products
[PRE] A user equipment (UE)              An Accused Product configured to operate on an LTE network is a user equipment (UE).
comprising:

[A][1] a processor operable to           The Accused Products include one or more processors (e.g., processor(s) in a telematics unit,
determine whether at least two of a      processor(s) in a data communications module) configured to implement and/or support LTE
plurality of channel state               communications. As evidenced above, the one or more processors are operable to determine
information (CSI) reports are to be      whether at least two of a plurality of channel state information (CSI) reports are to be
transmitted on a physical uplink         transmitted on a physical uplink control channel (PUCCH) in a subframe. See Claim 1,
control channel (PUCCH) in a             [A][1].
subframe,

[A][2] each of the plurality of CSI      As evidenced above, each of the plurality of CSI reports is related to a respective one of a
reports related to a respective one of   plurality of component carriers. See Claim 1, [A][2].
a plurality of component carriers;



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                Claim 3                                                         Accused Products
[B][1] the processor further operable    As evidenced above, the one or more processors are operable to, on a condition that the
to, on a condition that the              determination is positive, drop at least one lower priority CSI report of the plurality of CSI
determination is positive, drop at       reports. See Claim 1, [B][1].
least one lower priority CSI report
of the plurality of CSI reports,
[B][2] wherein a CSI report              As evidenced above, a CSI report containing a Rank Indicator (RI) is prioritized over one or
containing a Rank Indicator (RI) is      more CSI reports containing a Channel Quality Indicator (CQI). See Claim 1, [B][2].
prioritized over one or more CSI
reports containing a Channel Quality
Indicator (CQI), and
[B][3] wherein a CSI report              As evidenced above, a CSI report containing a RI for a primary component carrier is
containing a RI for a primary            prioritized over one or more CSI reports containing a RI for a respective secondary
component carrier is prioritized over    component carrier. See Claim 1, [B][3].
one or more CSI reports containing
a RI for a respective secondary
component carrier; and
[C] a transmitter operable to            The Accused Products include hardware/software configured to transmit signals when
transmit at least one prioritized CSI    communicating using LTE (i.e., a transmitter). As evidenced above, the hardware/software
report of the plurality of CSI reports   configured to transmit signals when communicating using LTE is operable to transmit at
on the PUCCH in the subframe.            least one prioritized CSI report of the plurality of CSI reports on the PUCCH in the
                                         subframe. See Claim 1, [C].




               Claim 4                                                       Accused Products
[A] The UE of claim 3, wherein           As evidenced above, each of the plurality of component carriers has an associated priority.
each of the plurality of component       See Claim 2, [A].
carriers has an associated priority,




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                Claim 4                                                        Accused Products
[B][1] and the processor further         As evidenced above, the one or more processors are operable to, on a condition there are no
operable to, on a condition there are    CSI reports for a primary component carrier, drop at least one lower priority CSI report of
no CSI reports for a primary             the plurality of CSI reports. See Claim 2, [B][1].
component carrier, dropping at least
one lower priority CSI report of the
plurality of CSI reports,
[B][2] wherein a CSI report              As evidenced above, a CSI report containing a RI for a component carrier with a highest
containing a RI for a component          associated priority is prioritized over one or more CSI reports containing a RI for a
carrier with a highest associated        respective component carrier of lower associated priority. See Claim 2, [B][2].
priority is prioritized over one or
more CSI reports containing a RI for
a respective component carrier of
lower associated priority.


               Claim 5                                                        Accused Products
[PRE] A non-transitory computer          Each Accused Product includes one or more processors (e.g., processor(s) in a telematics
readable storage medium comprising       unit, processor(s) in a data communications module) configured to implement and/or support
executable code stored thereon that,     LTE communications. These processors implement instructions stored as software/code in
when executed by a processor,            memory included in the Accused Product (i.e., a non-transitory computer readable storage
causes a user equipment (UE) to:         medium comprising executable code stored thereon).


[A][1] determine whether at least        As evidenced above, the instructions include software/code that when implemented cause the
two of a plurality of channel state      UE to determine whether at least two of a plurality of channel state information (CSI) reports
information (CSI) reports are to be      are to be transmitted on a physical uplink control channel (PUCCH) in a subframe. See
transmitted on a physical uplink         Claim 1, [A][1].
control channel (PUCCH) in a
subframe,
[A][2] each of the plurality of CSI      As evidenced above, each of the plurality of CSI reports is related to a respective one of a
reports related to a respective one of   plurality of component carriers. See Claim 1, [A][2].
a plurality of component carriers;



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              Claim 5                                                       Accused Products

[B][1] on a condition that the        As evidenced above, the instructions include software/code that when implemented cause the
determination is positive, drop at    UE to, on a condition that the determination is positive, drop at least one lower priority CSI
least one lower priority CSI report   report of the plurality of CSI reports. See Claim 1, [B][1].
of the plurality of CSI reports,
wherein:
[B][2] a CSI report containing a      As evidenced above, a CSI report containing a Rank Indicator (RI) is prioritized over one or
Rank Indicator (RI) is prioritized    more CSI reports containing a Channel Quality Indicator (CQI). See Claim 1, [B][2].
over one or more CSI reports
containing a Channel Quality
Indicator (CQI), and
[B][3] a CSI report containing a RI   As evidenced above, a CSI report containing a RI for a primary component carrier is
for a primary component carrier is    prioritized over one or more CSI reports containing a RI for a respective secondary
prioritized over one or more CSI      component carrier. See Claim 1, [B][3].
reports containing a RI for a
respective secondary component
carrier; and
[C] transmit, subsequent to the       As evidenced above, the instructions include software/code that when implemented cause the
dropping, at least one prioritized    UE to transmit, subsequent to the dropping, at least one prioritized CSI report of the plurality
CSI report of the plurality of CSI    of CSI reports on the PUCCH in the subframe. See Claim 1, [C].
reports on the PUCCH in the
subframe.


              Claim 6                                                    Accused Products
[A] The non-transitory computer      As evidenced above, each of the plurality of component carriers has an associated priority.
readable storage medium of claim 5, See Claim 2, [A].
wherein each of the plurality of
component carriers has an associated
priority,




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                Claim 6                                                         Accused Products
[B][1] and the executable code,           As evidenced above, the instructions include software/code that when implemented cause the
when executed by the processor,           UE to, on a condition there are no CSI reports for a primary component carrier, drop at least
further causes the UE to, on a            one lower priority CSI report of the plurality of CSI reports. See Claim 2, [B][1]
condition there are no CSI reports
for a primary component carrier,
drop at least one lower priority CSI
report of the plurality of CSI reports,
[B][2] wherein a CSI report               As evidenced above, a CSI report containing a RI for a component carrier with a highest
containing a RI for a component           associated priority is prioritized over one or more CSI reports containing a RI for a
carrier with a highest associated         respective component carrier of lower associated priority. See Claim 2, [B][2].
priority is prioritized over one or
more CSI reports containing a RI for
a respective component carrier of
lower associated priority.


            Claim 7                                                         Accused Products
[PRE] A method of operating a user        An Accused Product configured to operate on an LTE network is a user equipment (UE). As
equipment (UE), the method                evidenced below, the Accused Products perform a method of operating a user equipment
comprising:                               when operating on an LTE network.


[A][1] determining whether at least       As evidenced above, an Accused Product operating on an LTE network determines whether
two of a plurality of channel state       at least two of a plurality of channel state information (CSI) reports are to be transmitted on
information (CSI) reports are to be       a physical uplink control channel (PUCCH) in a subframe. See Claim 1, [A][1].
transmitted on a physical uplink
control channel (PUCCH) in a
subframe,
[A][2] each of the plurality of CSI       As evidenced below, each of the plurality of CSI reports is related to a respective one of a
reports related to a respective one of    plurality of component carriers and each of the plurality of component carriers has an
a plurality of component carriers and     associated priority.
each of the plurality of component



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               Claim 7                                                         Accused Products
carriers having an associated
priority;




                                         Source: TS 36.213, p. 44




                                         Source: TS 36.331, p. 220


[B][1] on a condition that the           As evidenced above, an Accused Product operating on an LTE network, on a condition that
determination is positive, dropping      the determination is positive, drops at least one lower priority CSI report of the plurality of
at least one lower priority CSI report   CSI reports. See Claim 1, [B][1].



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                Claim 7                                                    Accused Products
of the plurality of CSI reports,
wherein:
[B][2] a CSI report containing a      As evidenced above, a CSI report containing a Rank Indicator (RI) is prioritized over one or
Rank Indicator (RI) is prioritized    more CSI reports containing a Channel Quality Indicator (CQI). See Claim 1, [B][2].
over one or more CSI reports
containing a Channel Quality
Indicator (CQI), and
[B][3] a CSI report containing a RI   As evidenced below, a CSI report containing a RI for a component carrier with a highest
for a component carrier with a        associated priority is prioritized over one or more CSI reports containing a RI for a
highest associated priority is        respective component carrier of lower associated priority.
prioritized over one or more CSI
reports containing a RI for a
respective component carrier of
lower associated priority; and




                                      Source: TS 36.213, pp. 52-54




                                      Source: TS 36.331, p. 220



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              Claim 7                                                          Accused Products

[C] transmitting, subsequent to the      As evidenced above, an Accused Product operating on an LTE network transmits,
dropping, at least one prioritized       subsequent to the dropping, at least one prioritized CSI report of the plurality of CSI reports
CSI report of the plurality of CSI       on the PUCCH in the subframe. See Claim 1, [C].
reports on the PUCCH in the
subframe.


             Claim 8                                                       Accused Products
[PRE] A user equipment (UE)              An Accused Product configured to operate on an LTE network is a user equipment (UE).
comprising:

[A][1] a processor operable to           The Accused Products include one or more processors (e.g., processor(s) in a telematics unit,
determine whether at least two of a      processor(s) in a data communications module) configured to implement and/or support LTE
plurality of channel state               communications. As evidenced above, the one or more processors are operable to determine
information (CSI) reports are to be      whether at least two of a plurality of channel state information (CSI) reports are to be
transmitted on a physical uplink         transmitted on a physical uplink control channel (PUCCH) in a subframe. See Claim 1,
control channel (PUCCH) in a             [A][1].
subframe,

[A][2] each of the plurality of CSI      As evidenced above, each of the plurality of CSI reports is related to a respective one of a
reports related to a respective one of   plurality of component carriers and each of the plurality of component carriers has an
a plurality of component carriers and    associated priority. See Claim 7, [A][2].
each of the plurality of component
carriers having an associated
priority;
[B][1] the processor further operable    As evidenced above, the one or more processors are operable to, on a condition that the
to, on a condition that the              determination is positive, drop at least one lower priority CSI report of the plurality of CSI
determination is positive, drop at       reports. See Claim 1, [B][1].
least one lower priority CSI report
of the plurality of CSI reports,
wherein:



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               Claim 8                                                      Accused Products
[B][2] a CSI report containing a         As evidenced above, a CSI report containing a Rank Indicator (RI) is prioritized over one or
Rank Indicator (RI) is prioritized       more CSI reports containing a Channel Quality Indicator (CQI). See Claim 1, [B][2].
over one or more CSI reports
containing a Channel Quality
Indicator (CQI), and
[B][3] a CSI report containing a RI      As evidenced above, a CSI report containing a RI for a component carrier with a highest
for a component carrier with a           associated priority is prioritized over one or more CSI reports containing a RI for a
highest associated priority is           respective component carrier of lower associated priority. See Claim 7, [B][3].
prioritized over one or more CSI
reports containing a RI for a
respective component carrier of a
lower associated priority; and
[C] a transmitter operable to            The Accused Products include hardware/software configured to transmit signals when
transmit at least one prioritized CSI    communicating using LTE (i.e., a transmitter). As evidenced above, the hardware/software
report of the plurality of CSI reports   configured to transmit signals when communicating using LTE is operable to transmit at
on the PUCCH in the subframe.            least one prioritized CSI report of the plurality of CSI reports on the PUCCH in the
                                         subframe. See Claim 1, [C].




               Claim 9                                                        Accused Products
[PRE] A non-transitory computer          Each Accused Product includes one or more processors (e.g., processor(s) in a telematics
readable storage medium comprising       unit, processor(s) in a data communications module) configured to implement and/or support
executable code stored thereon that,     LTE communications. These processors implement instructions stored as software/code in
when executed by a processor,            memory included in the Accused Product (i.e., a non-transitory computer readable storage
causes a user equipment (UE) to:         medium comprising executable code stored thereon).


[A][1] determine whether at least        As evidenced above, the instructions include software/code that when implemented cause the
two of a plurality of channel state      UE to determine whether at least two of a plurality of channel state information (CSI) reports
information (CSI) reports are to be



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              Claim 9                                                          Accused Products
transmitted on a physical uplink         are to be transmitted on a physical uplink control channel (PUCCH) in a subframe. See
control channel (PUCCH) in a             Claim 1, [A][1].
subframe,

[A][2] each of the plurality of CSI      As evidenced above, each of the plurality of CSI reports related to a respective one of a
reports related to a respective one of   plurality of component carriers and each of the plurality of component carriers having an
a plurality of component carriers and    associated priority and each of the plurality of component carriers has an associated priority.
each of the plurality of component       See Claim 7, [A][2].
carriers having an associated
priority;
[B][1] on a condition that the           As evidenced above, the instructions include software/code that when implemented cause the
determination is positive, drop at       UE to, on a condition that the determination is positive, drop at least one lower priority CSI
least one lower priority CSI report      report of the plurality of CSI reports. See Claim 1, [B][1].
of the plurality of CSI reports,
wherein:
[B][2] a CSI report containing a         As evidenced above, a CSI report containing a Rank Indicator (RI) is prioritized over one or
Rank Indicator (RI) is prioritized       more CSI reports containing a Channel Quality Indicator (CQI). See Claim 1, [B][2].
over one or more CSI reports
containing a Channel Quality
Indicator (CQI), and
[B][3] a CSI report containing a RI      As evidenced above, a CSI report containing a RI for a component carrier with a highest
for a component carrier with a           associated priority is prioritized over one or more CSI reports containing a RI for a
highest associated priority is           respective component carrier of lower associated priority. See Claim 7, [B][3].
prioritized over one or more CSI
reports containing a RI for a
respective component carrier of
lower associated priority; and
[C] transmit, subsequent to the          As evidenced above, the instructions include software/code that when implemented cause the
dropping, at least one prioritized       UE to transmit, subsequent to the dropping, at least one prioritized CSI report of the plurality
CSI report of the plurality of CSI       of CSI reports on the PUCCH in the subframe. See Claim 1, [C].
reports on the PUCCH in the
subframe.


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